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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: : Chapter 11
NEW CENTURY TRS HOLDINGS, : Case No. 07-10416 (KJC)

INC., a Delaware corporation, et al.,!

Jointly Administered
Debtors.

NOTICE OF FILING OF SECOND AMENDED JOINT CHAPTER 11 PLAN OF
LIQUIDATION OF THE DEBTORS AND THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS DATED AS OF APRIL 23, 2008

PLEASE TAKE NOTICE that on April 23, 2008, the above-captioned debtors and
debtors in possession (the “Debtors”) filed the Second Amended Joint Chapter 11 Plan of
Liquidation of the Debtors and the Official Committee of Unsecured Creditors dated as of
April 23, 2008 (the “Second Amended Plan”) with the United States Bankruptcy Court for the

District of Delaware, 824 Market Street, Wilmington, Delaware 19801.

 

' The Debtors are the following entities: New Century Financial Corporation (f/k/a New Century REIT,
Inc,), a Maryland corporation; New Century TRS Holdings, Inc. (ffk/a New Century Financial Corporation), a
Delaware corporation, New Century Mortgage Corporation (f/k/a JBE Mortgage} (d/b/a NCMC Mortgage
Corporate, New Century Corporation, New Century Mortgage Ventures, LLC), a California corporation; NC Capital
Corporation, a California corporation; Home123 Corporation (f/k/a The Anyloan Corporation, 1800anyloan.com,
Anyloan.com), a California corporation; New Century Credit Corporation (f/k/a Worth Funding Incorporated), a
California corporation; NC Asset Holding, L.P. (f/k/a NC Residual II Corporation), a Delaware limited partnership;
NC Residual IT Corporation, a Delaware corporation; NC Residual IV Corporation, a Delaware corporation; New
Century R.E.O. Corp., a California corporation; New Century R.E.O. II Corp., a California corporation; New
Century R.E.O, III Corp., a California corporation; New Century Mortgage Ventures, LLC (d/b/a Summit Resort
Lending, Total Mortgage Resource, Select Mortgage Group, Monticello Mortgage Services, Ad Astra Mortgage,
Midwest Home Mortgage, TRATS Financial Services, Elite Financial Services, Buyers Advantage Mortgage), a
Delaware limited liability company; NC Deltex, LLC, a Delaware limited liability company, NCoral, L.P., a
Delaware limited partnership and New Century Warehouse Corporation, a California corporation,

RLF1-3276271-1

 
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PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit 1 is the Second

Amended Plan.

Dated: April 23, 2007
Wilmington, Delaware

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